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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK =
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REPUBLIC OF GUATEMALA, INaWNDCd |)
Petitioner, ANGS odsn |
Vv. Civil Case No. 1:22-cev-00394 (CM)

IC POWER ASIA DEVELOPMENT LTD.,

Respondent.

ROPSESEP| ORDER GRANTING MOTION FOR ATTORNEY’S FEES AND COSTS

This cause having come before the Court upon the Petitioner’s Motion for Attorney’s Fees
and Costs (the “Motion’”) following this Court’s judgment of December 20, 2022 (ECF No. 44).
The Court having reviewed the Motion and accompanying exhibits, finds that the fees and costs
requested are appropriate and reasonable.

IT IS HEREBY ORDERED AND ADJUDGED that the Motion is GRANTED.

The Petitioner, the Republic of Guatemala, is awarded fees and costs in the total amount
of $ 205,080.18 plus interest.

This amount shall be incorporated into the judgment issued on December 20, 2022,
granting Guatemala the liquidated amount of $1,803,042.61, in addition to pre-judgment interest
in the amount of $357,002.44, calculated at 9% per annum, and post-judgment interest. The above
fees and costs in the amount of $205,080.18 are also subject to pre-judgment interest of 9% per

annum in the amount of #. 955 ‘ 6 Y , and the post-judgment interest at the rate specified in 28

U.S.C.A § 1961.

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UNITED STATES DISTRICT JUDGE ~~

